      Case 3:17-cv-00001 Document 65 Filed in TXSD on 08/06/18 Page 1 of 1
                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                              August 06, 2018
                         UNITED STATES DISTRICT COURT
                                                                             David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

TEXAS DEPARTMENT OF CRIMINAL §
JUSTICE,                      §
                              §
       Plaintiff,             §
VS.                           §                CIVIL ACTION NO. 3:17-CV-1
                              §
FOOD AND DRUG ADMINISTRATION, §
et al,                        §
                              §
       Defendants.            §

                                       ORDER

       Several media organizations have moved to intervene in this case for the limited

purpose of seeking access to the status conference currently scheduled for September 13,

2018. The motion (Dkt. 63) is GRANTED. The status conference will be open to the

media and to the public at large.

       SIGNED at Galveston, Texas, this 6th day of August, 2018.


                                            ___________________________________
                                            George C. Hanks Jr.
                                            United States District Judge




1/1
